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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


    JACKSONVILLE BRANCH
    OF THE NAACP, et al.,

                Plaintiffs,
                                              Case No. 3:22-cv-493-MMH-LLL
    vs.

    CITY OF JACKSONVILLE, et al.,

                Defendants.

    _____________________________________/


                                      ORDER

          THIS CAUSE is before the Court sua sponte. As of this hour, much of

    the State of Florida is in the projected path of Hurricane Ian, a storm predicted

    to be a powerful hurricane. While the precise location and time a particular

    Florida city will experience hurricane conditions is unknown, it appears evident

    that much of the state will be affected. It is also unknown at this time whether

    closure of the Bryan Simpson United States Courthouse will be necessary.

    Regardless, the Court notes that Plaintiffs' attorneys in this action all reside

    outside the local area (Cambridge, Massachusetts; Decatur, Georgia; Miami,

    Florida; and Tallahassee, Florida) such that attendance at a hearing on

    Thursday morning would require them to travel (or attempt to travel) into the
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    path of the storm. Such a course of action would be unwise. Accordingly, it is

    hereby

          ORDERED:

          The Court relieves the parties of any obligation to attend a hearing in this

    matter on Thursday, September 29, 2022. Another hearing, if warranted, will

    be set by further order after the Hurricane Ian weather event and its affects

    have passed.

          DONE AND ORDERED in Jacksonville, Florida this 26th day of

    September, 2022.




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    Copies to:

    Counsel of Record




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